            Case 3:21-cv-05502-LK-TLF Document 32 Filed 05/31/22 Page 1 of 2




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4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5                                      AT TACOMA

6    SABRINA KENDALL,
                                                         Case No. 3:21-cv-5502-LK-TLF
7                            Plaintiff,
            v.                                           ORDER AMENDING PRETRIAL
8                                                        SCHEDULE
     WASHINGTON DEPARTMENT OF
9    CORRECTIONS, et al.,
10                           Defendants.

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            This matter comes before the Court on plaintiff’s motion for extension of time
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     (Dkt. 27) and defendants’ motion to continue dates (Dkt. 30).
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            Plaintiff requests a 90-day extension of time to respond to discovery because she
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     does not currently have access to the law library due to the COVID-19 pandemic. Dkt.
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     27. Defendants have filed a response stating that defendants do not oppose an
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     extension of the discovery deadline, but request that all pretrial deadlines be similarly
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     extended. Dkt. 28. Defendants’ motion to continue requests that the Court continue all
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     pretrial deadlines by 90 days. Dkt. 30. Defendants indicate that plaintiff does not oppose
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     this 90-day continuance. Dkt. 30.
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            Based on the foregoing, the Court finds good cause to grant plaintiff’s motion for
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     extension of time (Dkt. 27) and defendants’ motion to continue the pretrial deadlines
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     (Dkt. 30). The Court sets the following pretrial deadlines:
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26   ORDER AMENDING PRETRIAL SCHEDULE - 1
           Case 3:21-cv-05502-LK-TLF Document 32 Filed 05/31/22 Page 2 of 2




1            •   Discovery Completion Date: August 19, 2022

2            •   Motion to Compel Deadline: September 2, 2022

3            •   Dispositive Motion Deadline: September 16, 2022

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5         Dated this 31st day of May, 2022.

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8                                                a
                                                 Theresa L. Fricke
9                                                United States Magistrate Judge

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26   ORDER AMENDING PRETRIAL SCHEDULE - 2
